               Case 3:16-cr-00462-CRB Document 200 Filed 01/17/18 Page 1 of 5




 1 ALEX G. TSE (CABN 152348)
   Acting United States Attorney
 2
   BARBARA J. VALLIERE (DCBN 439353)
 3 Chief, Criminal Division

 4 ROBERT S. LEACH (CABN 196191)
   ADAM A. REEVES (NYBN 2363877)
 5 WILLIAM FRENTZEN (LABN 24421)
   Assistant United States Attorneys
 6
          450 Golden Gate Avenue, Box 36055
 7        San Francisco, California 94102-3495
          Telephone: (415) 436-7453
 8        Fax: (415) 436-7234
          adam.reeves@usdoj.gov
 9
   Attorneys for United States of America
10
                                UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                   SAN FRANCISCO DIVISION
13
   UNITED STATES OF AMERICA,                       ) Case No. CR 16-00462 CRB
14                                                 )
          Plaintiff,                               ) UNITED STATES’ AMENDED
15                                                 ) WITNESS LIST
      v.                                           )
16                                                 ) Pretrial Conference: February 6, 2018
   SUSHOVAN TAREQUE HUSSAIN,                       ) Trial Date: February 26, 2018
17                                                 )
          Defendant.                               )
18                                                 )
                                                   )
19
          United States may call the following witnesses 1 during its case-in-chief:
20
          1.      Brian Alexander*
21
          2.      Antonia Anderson*
22
          3.      Leo Apotheker*
23
          4.      Neil Araujo
24
          5.      Kevin Asher*
25
          6.      John Baiocco*
26
          7.      Varoon Bhaggat*
27

28         1
               Witnesses with an asterisk are more likely to be called during the trial.
     UNITED STATES’ AMENDED WITNESS LIST,
     CASE NO. CR 16-00462 CRB                               1
            Case 3:16-cr-00462-CRB Document 200 Filed 01/17/18 Page 2 of 5




 1        8.    Sean Blanchflower*

 2        9.    Steven Brice*

 3        10.   Edward Bridges*

 4        11.   Michael Briest*

 5        12.   Alexandra Bryant*

 6        13.   Dominic Camden*

 7        14.   Chris Chan*

 8        15.   Frank Cooke*

 9        16.   John Cronin*

10        17.   James Crumbacher

11        18.   Amit Daryanani*

12        19.   Christopher Egan*

13        20.   Tomas Esterrich

14        21.   Jim Fogo*

15        22.   Al Furman*

16        23.   Darren Gallagher

17        24.   Thomas Garner*

18        25.   Marc Geall*

19        26.   Andy Gersh*

20        27.   Chris Goodfellow*

21        28.   Livius Guaio*

22        29.   Dave Haapaoja

23        30.   Dave Hales*

24        31.   Frank Haran

25        32.   Brent Hogenson*

26        33.   Andy Johnson*

27        34.   Brian Kelly*

28        35.   Daud Khan*

     UNITED STATES’ AMENDED WITNESS LIST,
     CASE NO. CR 16-00462 CRB                2
            Case 3:16-cr-00462-CRB Document 200 Filed 01/17/18 Page 3 of 5




 1        36.   Kenneth Koch*

 2        37.   Micki Lee

 3        38.   William Loomis*

 4        39.   Gerry Louw*

 5        40.   Fernando Lucini*

 6        41.   Chris Matuszewski

 7        42.   Rob McKay

 8        43.   Michael Menz

 9        44.   Nigel Mercer*

10        45.   Paul Moreland*

11        46.   Tom Murray*

12        47.   Steve Ogden*

13        48.   Alex Paul

14        49.   Rahul Puri*

15        50.   Frank Quattrone*

16        51.   Alan Rizek*

17        52.   Shane Robison

18        53.   Manish Sarin*

19        54.   Joel Scott*

20        55.   Reagan Smith*

21        56.   Jane Snider*

22        57.   Matt Stephan*

23        58.   Michael Sullivan*

24        59.   Gary Szukalski

25        60.   David Toms*

26        61.   David Truitt*

27        62.   Steve Truitt*

28        63.   Nigel Upton*

     UNITED STATES’ AMENDED WITNESS LIST,
     CASE NO. CR 16-00462 CRB                3
            Case 3:16-cr-00462-CRB Document 200 Filed 01/17/18 Page 4 of 5




 1        64.   Bill Veghte

 2        65.   Roger Wang

 3        66.   Cynthia Watkins*

 4        67.   Lee Welham*

 5        68.   Stephen Williams

 6        69.   Chris Yelland*

 7        70.   Custodians of Records of

 8              a. Barclays

 9              b. Cardinal Bank

10              c. Capax Discovery LLC

11              d. Comerica Bank

12              e. Discover Technologies LLC

13              f. EMC Corporation

14              g. Financial Reporting Council

15              h. FTI Consulting, LLC

16              i. Hewlett-Packard Enterprise and current and former affiliates

17              j. HP Inc.

18              k. John Marshall Bank

19              l. M&T Bank

20              m. Microtechnologies LLC

21              n. KPMG

22              o. Thomson Reuters (Markets) LLC

23              p. West Corporation

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     UNITED STATES’ AMENDED WITNESS LIST,
     CASE NO. CR 16-00462 CRB                       4
             Case 3:16-cr-00462-CRB Document 200 Filed 01/17/18 Page 5 of 5




 1          The government may seek to supplement this list as trial preparations progress, and will

 2 notify the defendant and the Court of any changes to its Witness List.

 3 Dated: January 17, 2018                               Respectfully Submitted,

 4                                                       ALEX G. TSE
                                                         Acting United States Attorney
 5
                                                                /s/
 6
                                                         ___________________________
 7                                                       ROBERT S. LEACH
                                                         ADAM A. REEVES
 8                                                       WILLIAM FRENTZEN
                                                         Assistant United States Attorneys
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     UNITED STATES’ AMENDED WITNESS LIST,
     CASE NO. CR 16-00462 CRB                            5
